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 6
                                   U.S. DISTRICT COURT
 7
 8                     NORTHERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,  )               Case No.: 3:17-cr-00533-EMC
11            Plaintiff,        )
                                )               DEFENDANT LYLES’ JOINDER OF
12               vs.            )               MOTION TO DISMISS COUNTS FIVE
13                              )               AND SIX FILED BY DEFENDANT
     JONATHAN JOSEPH NELSON, et )               FOAKES AND REQUEST FOR A BILL
14   al,                        )               OF PARTICULARS.
15   (DEFENDANT (3) RUSSELL     )
16   LYLES JR.),                )
                     Defendant. )
17                              )
18
19         Defendant Lyles hereby joins the motions to dismiss Counts Five and Six
20   filed by Defendant Foakes, ECF #1791.
21         Because Lyles has not been included in Trial Group One as it is presently
22   constituted he has repeatedly objected to any requirement that he file motions by
23   deadlines set based on trial one’s scheduled start date and the readiness of Trial
24   Group One. No Defendant in Trial Group One filed a motion challenging the
25   Indictment as to Counts Five and Six. For that reason, Mr. Lyles does not believe
26   he, Defendant Foakes, or Defendant Greer, the non-Trial Group One defendants
27   charged in Counts Five and Six, are required to file motions attacking the facial
28   validity of Counts Five and Six at this time and reserves his right to later file


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 1   additional challenges to the Superseding Indictment not made by any other
 2   defendant at this time.
 3         Defendant Nelson has filed a motion to dismiss Count Seven. ECF #1792.
 4   Because he is not charged in that Count, Defendant Lyles does not believe he has
 5   standing or reason to join that motion. However, to the extent that the Government
 6   may argue that Count Seven is related to Count One, Mr. Lyles joins Mr. Nelson’s
 7   motion in full.
 8
 9              JOINDER WITH DEFENDANT FOAKES’ MOTION TO
10                      DISMISS COUNTS FIVE AND SIX

11         Because he understands and appreciates the Court’s desire to not waste the
12   time and resources of the Court and counsel by unnecessarily relitigating motions
13   on matters that affect multiple defendants, counsel for Mr. Lyles diligently and
14   carefully read Mr. Foakes’ motion challenging Counts Five and Six in the
15   Superseding Indictment, ECF #1791, and hereby joins it on the following grounds:
16
           1.   Counts Five And Six Are Insufficient Because, As To
17         Defendant Lyles, The Superseding Indictment Fails To Plead Critical
18         Elements Of A VICAR Charge Adequately And With Specificity.
19         Defendant Foakes’ motion correctly identifies the elements of a VICAR
20   offense and the reasons that it was insufficiently pleaded as to him. ECF #1791, p.
21   15-18. Defendant Lyles hereby adopts the authority and argument in that motion.
22         Additionally, based on the Superseding Indictment and the discovery he has
23   received in the more than three years since he was charged in Counts Five and Six,
24   Mr. Lyles has no idea as to the specific role he is alleged to have played in the
25   commission of Counts Five and Six, or how whatever actions the Government may
26   believe he took in relation to the crimes alleged in Counts Five and Six were “for
27   the purpose of gaining entrance to or maintaining or increasing position in the
28   enterprise.” Because those elements of Counts Five and Six are not adequately


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 1   pleaded in the Superseding Indictment, Mr. Lyles has no effective notice of the
 2   only two substantive charges alleged against him in this case. For that reason,
 3   Counts Five and Six should be dismissed as to him. In the alternative, as requested
 4   below, Mr. Lyles requests that the Court order the Government to provide him with
 5   a bill of particulars as to those elements of Counts Five and Six.
 6         2.    Counts Five and Six Must be Dismissed for Insufficiency as the
 7         State Offenses Are Not a Categorical Match with the Generic Federal
           Offenses.
 8
 9         Defendant Lyles hereby joins this motion based on the authority and reasons
10   stated in Defendant Foakes’ motion, ECF #1791, p. 18-21.
11         3.    Counts Five and Six are Insufficient Because the Counts do not
           Allege a Substantial Effect on Interstate Commerce.
12
13         Defendant Lyles hereby joins this motion based on the authority and reasons
14   stated in Defendant Foakes’ motion, ECF #1791, p. 21.
15              REQUEST FOR A BILL OF PARTICULARS AS TO THE
16                VICAR ELEMENTS OF COUNTS FIVE AND SIX
17         Pursuant to Federal Rule of Criminal Procedure 7(f), Defendant Lyles
18   requests and moves for an order requiring the Government to provide a Bill of
19   Particulars to give him sufficient notice as to the VICAR allegations necessarily
20   included in Counts Five and Six. Such a bill is necessary to permit him to prepare
21   adequate defenses to that charge, avoid surprise at trial and allow him to assert his
22   Fifth Amendment rights against Double Jeopardy should he not be convicted in
23   this proceeding.
24         Specifically, with regard to Count Five and Count Six, Defendant Lyles
25   requests that the Court order the Government to specify:
26         1.     The role that it intends to prove Mr. Lyles played in the “maiming” of
27   “Victim 5” alleged in Count Five and the “assault with a dangerous weapon”
28


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 1   alleged in Count Six including whether the Government intends to allege that he
 2   personally participated in the alleged “maiming” and “assault.”
 3         2.       If the Government alleges that Mr. Lyles personally participated in the
 4   alleged maiming and assault, the specific time on November 26, 2016 that the
 5   Government alleges the alleged maiming and assault took place.
 6         3.       If the Government alleges that Mr. Lyles personally participated in the
 7   alleged maiming and assault, the specific ways in which Mr. Lyles participated in
 8   the alleged maiming and assault.
 9         4.       If the Government alleges that Mr. Lyles “aided and abetted others,”
10   the specific ways and means -- i.e. actions, assistance, communications, etc. -- by
11   and through which Mr. Lyles allegedly aided and abetted the alleged maiming and
12   assault.
13         5.       The Government’s theory as to how the alleged maiming and assault
14   of Victim 5 “maintained” or “increased” Mr. Lyles’ “position in the alleged
15   enterprise.”
16         6.       Whether and, if so, how the alleged enterprise differs from the
17   Sonoma Charter of the Hells Angels.
18         Background
19         Immediately after Mr. Lyles surrendered and was taken into custody,
20   counsel wrote to the prosecutors in this case, stated that he had no specific
21   information that would allow him to ascertain the basis for the substantive charges
22   against Mr. Lyles. Specifically, he wrote:
23         ... I have no knowledge as to whether the government is alleging that
24         Mr. Lyles personally maimed or assaulted victim 5, or, in the
           alternative, that he is culpable only as an aider and abettor. Indeed, I
25
           have no information that would allow me to determine if the
26         government intends to allege that Mr. Lyles was present when victim
27         5 was allegedly maimed and/or assaulted, or even that he had
           knowledge that victim 5 was allegedly maimed.
28


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 1   Letter from Attorney Michael Clough to AUSA Barry and AUSA Cornell,
 2   December 17, 2017.
           In the 41 months since counsel wrote that letter, the only discovery that
 3
     counsel has received mentioning in any way Mr. Lyles’ alleged role in the alleged
 4
     “maiming” is a single report of an interview that, because it is designated as AEO,
 5
     he cannot discuss with his client -- and that report is inconsistent with accounts
 6
     included in other reports. In addition, although the Government subpoenaed Mr.
 7
     Lyles’ call detail records immediately after the November 26, 2016 incident, the
 8
     Government has never disclosed those records to counsel for Mr. Lyles; and,
 9
10   despite repeated discovery requests, the Government has never offered any
     explanation as to why it has not produced those records.
11
           Legal Authority
12
           As elaborated in detail in the motion for a bill of particulars filed by
13
     Defendant Wendt, “An indictment is required to describe in plain, concise, and
14
     definite language the essential facts constituting the offense.” ECF #1789, pp. 14-
15
     16 (citing generally, United States v. James, 980 F.2d 1314, 1316-1317 (9th Cir.
16
     1992) cert. denied, 510 U.S. 838 (1993). Defendant Lyles hereby adopts the
17
     following clearly stated argument included in Wendt’s motion:
18
           In determining if a Bill of Particulars should be ordered in a specific
19
           case, a court should consider whether the defendant has been advised
20         adequately of the charges through the indictment and all other
21         disclosures made by the government. United States v. Giese, 597 F.2d
           1170, 1180 (9th Cir. 1979) cert denied, 444 U.S. 979. An indictment
22         must furnish the defendant with a sufficient description of the charges
23         against him to enable him to prepare his defense, to ensure that the
           defendant is prosecuted on the basis of facts presented to the grand
24         jury, and to inform the court of the facts alleged so that it can
25         determine the sufficiency of the charge. Russell v. United States, 369
26         U.S. 771, 763, 768 n. 15, 771 (1960); United States v. Keith, 605 F.2d
           462, 464 (9th Cir. 1979); United States v. Pheaster, 544 F.2d 353, 360
27         (9th Cir. 1976), cert. denied, 429 U.S. 1099 (1977). A motion for Bill
28         of Particulars is appropriate where a defendant requires clarification in


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 1         order to prepare a defense. Wills v. United States, 389 U.S. 90, 99
 2         (1967); United States v. Long, 706 F.2d 1044, 1054 (9th Cir. 1983).
           This is because a defendant is entitled to understand the basis for the
 3         government’s case. United States v. Ryland, 806 F.2d 941, 942 (9th
 4         Cir. 1986) cert. denied, 481 U.S. 1057 (1987).
 5   ECF #1789, p.15. Defendant Lyles further adopts the arguments and authority
 6   supporting an order for a Bill of Particulars offered in Defendant Ranieri’s motion
 7   for a Bill of Particulars. ECF #1791, pp. 8-9.
 8         Summary and Conclusion

 9         It is truly astounding that more than 41 months after Mr. Lyles was arrested,

10   taken into custody, and not released for two months based largely on Count Five

11   and Count Six, the Government has failed to provide him with any basis to know

12   what the Government intends to argue at trial regarding his alleged role in the

13   alleged maiming and assault -- or who the witnesses against him are likely to be.

14   Instead, because of the Government’s pretense that the identities of Victims 5 and

15   Victim 6 are unknown, the AEO protective order that was imposed in January

16   2019 and tightened in August 2019, and what counsel for Mr. Lyles believes was

17   an improperly filed motion for an OSC that has chilled and deterred efforts to

18   investigate the November 26, 2016 incident, counsel has not even been able to

19   engage Mr. Lyles in the preparation of his own defense.

20         For these reasons, Defendant Lyles submits that this Court should dismiss

21   Count Five and Count Six as to him, or, alternatively, grant his request for a bill of

22   particulars.

23
24   DATED: May 24, 2021

25
26                                           /s/ Michael Clough__________
                                             MICHAEL CLOUGH
27                                           Attorney for Defendant
28                                           RUSSELL LYLES Jr.


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